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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                        )
LAURA ARMOUR,                                           )
                                                        )
       Plaintiff,                                       )
                                                        )
                v.                                      )       Civil Action No. 19-2556 (TJK)
                                                        )
PHIL ROSENFELT, Acting Secretary of the                 )
Department of Education, et al.,                        )
                                                        )
       Defendants.                                      )
                                                        )

                                    JOINT STATUS REPORT

        Pursuant to the Court’s January 7, 2021, Minute Order, Plaintiff and Defendants, by and

through undersigned counsel, report as follows.

        In the previous Joint Status Report (ECF No. 18), the parties sought time to discuss

whether it is possible to resolve this matter without the need for further litigation. The parties

now report that they have made significant progress in those discussions. To allow for

completion of a formal resolution of the litigation, the parties respectfully request that they file a

Joint Status Report in one month, or by March 8, 2021, with a report on the status of those

efforts unless they file a joint stipulation of dismissal before that date.
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Dated: February 5, 2021                         Respectfully submitted,


/s/ Alexander S. Elson                          MICHAEL R. SHERWIN
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